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 1     LAW OFFICES OF JAMES F. HOLTZ
       A Professional Corporation
 2     James F. Holtz, Esq. (SBN 95064)
       james.holtz@holtzapc.com
 3     Natalie C. Holtz, Esq. (SBN 334221)
       natalie.holtz@holtzapc.com
 4     16935 West Bernardo Drive, Suite 170
       San Diego, California 92127
 5     Telephone: (619) 881-1246
       Facsimile: (619) 924-5199
 6
       Attorneys for Defendant
 7     COSTCO WHOLESALE CORPORATION
 8

 9                          UNITED STATES DISTRICT COURT
10             FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11     KARMO, MAHA, an individual, Case No.: '21CV1038 AJB KSC
12                 Plaintiff,                    NOTICE OF REMOVAL OF
                                                 ACTION UNDER 28 U.S.C. §
13           v.                                  1441(b) (DIVERSITY)
14     COSTCO WHOLESALE
       CORPORATION, a Washington
15     corporation; and DOES 1 through 100,
       inclusive,
16
                   Defendants.
17

18    TO THE CLERK OF THE ABOVE-ENTITLED COURT:
19          PLEASE      TAKE     NOTICE   that    Defendant   COSTCO   WHOLESALE
20    CORPORATION (hereinafter “Costco”) hereby removes to this Court the state court
21    action described below.
22          1.    On May 10, 2021, an action was commenced in the San Diego Superior
23    Court, entitled KARMO, MAHA, an individual v. COSTCO WHOLESALE
24    CORPORATION, a Washington corporation, and DOES 1 through 100, inclusive, as
25    Case No: 37-2021-00020655-CU-PO-CTL. A copy of the Complaint is attached hereto
26    as Exhibit “A.”
27    ///
28                                 1
            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                              (DIVERSITY)
     Case 3:21-cv-01038-AJB-KSC Document 1 Filed 06/01/21 PageID.2 Page 2 of 4



 1          2.     Defendant Costco received a copy of said complaint on May 17, 2021,
 2    when its agent accepted service of said complaint and a summons on its behalf. A copy
 3    of the summons, civil case cover sheet, complaint, and notice of case assignment and
 4    case management conference filed in state court and served on defendant Costco are
 5    attached hereto as Exhibit “B.”
 6          3.     On May 26, 2021, Costco filed an Answer to Plaintiff’s Complaint
 7    attached hereto as Exhibit “C.”
 8          4.     This is a civil action of which this Court has original jurisdiction under
 9    28 U.S.C. § 1332, and is one which may be removed to this Court by Defendant Costco
10    pursuant to the provisions of 28 U.S.C. § 1441(b) in that it is a civil action between
11    citizens of different states and the matter in controversy exceeds the sum of $75,000,
12    exclusive of interest and costs.
13          5.     Plaintiff resides in the city of Spring Valley in the County of San Diego,
14    California and is a citizen of the state of California. Defendant Costco was at the time
15    of filing this action, and still is, a corporation incorporated under the laws of the State
16    of Washington, having its principal place of business at Issaquah, Washington.
17          6.     This case involves a slip and fall outside a Costco warehouse located at
18    8125 Fletcher Parkway, La Mesa, California 91942. Plaintiff did not file a statement of
19    damages nor did she provide a monetary demand with her complaint. However, in a
20    demand letter sent to Costco’s carrier Gallagher Bassett in February 2021, plaintiff’s
21    counsel provided information as to plaintiff’s alleged incurred medical expenses.
22          7.     Plaintiff was taken away from the scene of the subject incident in an
23    ambulance. At the hospital, x-rays and a CT scan showed plaintiff had sustained a
24    comminuted fracture of her femur as a result of her fall. (See plaintiff’s demand letter
25    attached hereto as Exhibit “D”). Plaintiff underwent surgery to treat the fracture and
26    was confined to a wheelchair “for the first couple of months after her surgery.” (See id.
27    at page 8, paragraph 2.)
28                                 2
            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                              (DIVERSITY)
     Case 3:21-cv-01038-AJB-KSC Document 1 Filed 06/01/21 PageID.3 Page 3 of 4



 1          8.     As part of her recovery from her injury, Plaintiff had numerous follow up
 2    appointments with her doctors and at least twenty sessions of physical therapy.
 3          9.     In their demand letter, plaintiff’s counsel made a demand for $400,000.
 4    (See id. at page 8, paragraph 5.) Additionally, plaintiff alleges that she will require
 5    future medical care and incur future medical expenses for her injuries arising out of the
 6    incident (See Plaintiff’s Complaint attached as Exhibit “A” at page 4, paragraph 22 and
 7    page 5, paragraph 31.)
 8          10.    It is believed that, based upon the foregoing, the case value if liability were
 9    found would exceed $75,000.
10          11.    Due to the seriousness of plaintiff’s alleged injuries, it is reasonable to
11    conclude that the amount in controversy exceeds $75,000.
12          12.    The date upon which there was complete diversity between plaintiff and
13    defendant Costco is the date of filing on May 10, 2021.
14          13.    As Costco had previously received plaintiff’s demand letter in February
15    2021, Costco was put on notice that the amount in controversy exceeds $75,000 on May
16    17, 2021 when plaintiff served Costco with her complaint. (See 28 U.S.C. §§ 1446(b)(1)
17    and (b)(3).) Further, less than one year has passed since the commencement of the action
18    as required by 28 U.S.C. § 1446(b). Thus, the matter is now removable to federal court.
19

20     Dated: June 1, 2021                         LAW OFFICES OF JAMES F. HOLTZ
21                                                 A Professional Corporation
                                                   By: s/ James F. Holtz
22                                                     James F. Holtz, Esq.
                                                        james.holtz@holtzapc.com
23                                                     Natalie C. Holtz, Esq.
                                                        natalie.holtz@holtzapc.com
24                                                Attorneys for Defendant
                                                  COSTCO WHOLESALE CORPORATION
25

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28                                 3
            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                              (DIVERSITY)
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 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on June 1, 2021, I served a true and correct copy of the above
 3    and foregoing NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
 4    (DIVERSITY) via U.S. Mail by depositing in the United States Postal Service mail
 5    box at 16935 West Bernardo Drive, Suite 170, San Diego, California 92127, in a sealed
 6    envelope with postage thereon fully prepaid and addressed as follows:
 7     Jeremy R. Cronin (SBN 270284)                   Counsel for Plaintiff
 8     JUREWITZ LAW GROUP                              MAHA KARMO
       600 “B” Street, Suite 1450
 9     San Diego, CA 92101
10     Tel (619) 233-5020
       Fax (888) 233-3180
11     jrc@jurewitz.com
12
            I declare under penalty of perjury under the laws of the United States of America
13
      that the above is true and correct. Executed on June 1, 2021, at San Diego, California.
14

15                                                  s/ James F. Holtz
                                                    James F. Holtz
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28                                 4
            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                              (DIVERSITY)
